                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF TENNESSEE
                                      CHATTANOOGA DIVISION

  SHARON M. GUTHRIE,                                      )
                                                          )
                     Plaintiff,                           )             1:22-CV-00162-DCLC-SKL
                                                          )
             v.                                           )
                                                          )
  UNITED STATES OF AMERICA,                               )
                                                          )
                     Defendant.                           )
                                                          )


                                     AMENDED SCHEDULING ORDER

  1.        Introduction: The parties have filed a Joint Motion to Amend Scheduling Order [Doc. 28]
            in which they request an extension of the discovery deadline, the dispositive motion
            deadline, and the Daubert challenge deadline due to the recent extension of the rebuttal
            expert disclosure deadline. The parties’ motion is well-taken and GRANTED. Although
            the parties do not seek a continuance of the trial date, the requested extensions necessitate
            a brief continuance. Accordingly, the previous Scheduling Order [Doc. 19] is VACATED.
            The key scheduling deadlines for the new trial date are listed below with further discussion
            set forth herein.

                                           Important Scheduling Dates
       Trial Date                                                July 9, 2024, at 9:00 a.m. EST

       Estimated Length of Trial                                              4 days

       Final Pretrial Conference                                June 25, 2024, at 1:30 p.m. EST

       Non-dispositive Motions Due                                         May 10, 2024

       Dispositive Motions Due and                                         March 1, 2024
       Daubert Challenge Deadline
       Fact and Expert Discovery Cut-Off                                 February 16, 2024

       Expert Disclosure Deadline:                               Plaintiff: November 1, 2023
                                                                Defendants: December 15, 2023
                                                                 Rebuttal: January 16, 2024

  2.        Jurisdiction: In this case, the subject matter jurisdiction of the Court has been invoked by
            Plaintiff pursuant to 28 U.S.C. § 1332.


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  3.    Settlement/Alternative Dispute Resolution: The parties are advised of the availability
        of the Federal Court Mediation Program and shall consider utilization of the program. If
        the parties elect to utilize this program, they are requested to notify the Mediation
        Coordinator, United States Courthouse, 220 West Depot Street, Greeneville, Tennessee
        37743.

  4.    Disclosure and Discovery; Including Experts:

        a. Rule 26(f) Meeting and Discovery Plan: All steps were previously completed. The
           parties shall follow their discovery plan but may seek assistance from the Court in the
           event of a dispute.

        b. Electronic Discovery: To the extent discovery of ESI occurs, the parties shall confer
           regarding the manner and method of the same and seek the Court’s assistance in the
           event an agreement cannot be reached.

        c. Initial Disclosures: The parties previously completed initial disclosures.

        d. Protective Orders: In the event a need for a protective order arises, the parties shall
           endeavor to reach an agreement as to an order and, in the absence of agreement, may
           file a motion for a protective order. The Court also reminds the parties of the Court’s
           order as to confidential information, [Doc. 7].

        e. Expert Testimony: The deadline for disclosure of any expert testimony in accordance
           with Fed. R. Civ. P. 26(a)(2)(B) and (C) expired on November 1, 2023 for plaintiff and
           December 15, 2023 for defendant. The parties shall disclose rebuttal expert testimony
           no later than January 16, 2024.

           See Section 5(d) regarding expert-related motions.

        f. All Discovery: All discovery, including expert depositions, shall be completed by
           February 16, 2024, unless the parties agree in writing to an extension. No such
           agreement will affect the trial date or the motion deadlines herein.

        g. Motions to Compel: Prior to filing motions to compel, the parties shall contact
           chambers of the assigned Magistrate Judge to notify the Court of a dispute and schedule
           a time for a telephone conference to attempt to resolve the dispute. See also
           http://www.tned.uscourts.gov/ with regard to the Court’s preferences.

  5.    Other Scheduling Matters and Motion Practice

        a. Amendment of Pleadings/Joinder: The deadline to amend the pleadings or add parties
           passed on October 3, 2023.

        b. Dispositive Motions: All dispositive motions under Rules 12 and 56 shall be filed on
           or before March 1, 2024. Untimely motions may be summarily denied. Per Local

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           Rule 7.1(a), the responding party(ies) shall have twenty-one (21) days after the date a
           dispositive motion is filed to respond, after which time the Court may proceed to rule
           upon the motion on the basis of the record as it then appears.

        c. Special Instructions for Summary Judgment Motions: Summary judgment motions
           shall be accompanied by a separate, concise statement of the material facts as to which
           the moving party contends there is no genuine issue for trial. Each fact shall be set forth
           in a separate, numbered paragraph, and supported by no more than two citations to the
           record.

           The party opposing the motion shall file with his/her brief in opposition, opposing
           affidavits, etc., a response to each fact set forth by the movant that either (1) agrees that
           the fact is undisputed, (2) agrees that the fact is undisputed for purposes of ruling on
           the motion for summary judgment only, or (3) demonstrates that the fact is disputed, in
           which event there must be a specific citation to the record. Further, the non-movant’s
           response may contain a concise statement of additional facts that the non-movant
           contends are material and disputed. Each disputed fact shall be set forth in a separate,
           numbered paragraph with specific citations to the record.

           The parties are advised that fact statements shall not include argument. If either party
           fails to file the documents required of him/her as set forth herein, the Court may strike
           that party’s motion or opposition, as applicable.

        d. Expert Witness and Daubert Motions: Objections to a proposed witness’s
           qualifications, or that witness’s competency to offer an expert opinion, or any objection
           to an expert’s testimony under F.R.E. 701 through 706 and Daubert, shall be filed by
           March 1, 2024. Per Local Rule 7.1(a), the responding party(ies) shall have fourteen
           (14) days after the date an objection is filed to respond.

           Any such objection must be filed by this date or any extension thereof. Otherwise,
           the objection is deemed waived. If a party desires to take a discovery deposition
           of an expert prior to filing an objection under this paragraph, they must do so and
           file the objection by the deadline.

        e. Motions in Limine: Motions in limine (with supporting authority) relating to exhibits,
           depositions (including video depositions), and witnesses (other than experts) must be
           filed by May 10, 2024, and may be heard at the final pretrial conference. Per Local
           Rule 7.1(a), the responding party(ies) shall have fourteen (14) days after the date a
           motion is filed to respond.

           If a motion regarding exclusion of a portion of a recording is granted, the recording
           must be edited before trial to conform to the Court’s order, or it will not be admitted
           into evidence.

           The Court will not entertain a motion to exclude expert testimony styled as a motion in
           limine. Any motions to exclude expert testimony pursuant to Fed. R. Evid. 702 must

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           be filed on or before the Daubert motion deadline set forth in Section 5(d).

        f. Other Nondispositive Motions: All nondispositive motions other than motions in
           limine as addressed in Section 5(e) shall be filed on or before May 10, 2024.

        g. Final Exhibit and Witness Lists and Deposition Designations/Pretrial Disclosures:
           On or before thirty (30) days before the final pretrial conference, the parties shall make
           pretrial disclosures in accordance with the following:

           Provide to all parties a final witness list in accordance with Rule 26(a)(3). The list may
           be supplemented within five (5) days after service. After that time the list shall only be
           supplemented with leave of the court and for good cause;

           Exchange exhibit lists and designations of depositions, or portions thereof, to be placed
           in evidence and produce the exhibits for inspection by the opposing parties.

           Parties may file objections after the exhibit list exchange for the limited purpose of
           raising objections to authenticity and/or admissibility. Objections must be filed at least
           twenty-one (21) days prior to the final pretrial conference. Unless written objection is
           made to the authenticity and/or admissibility of an exhibit, objections to the authenticity
           and/or admissibility of the exhibit is deemed waived unless excused for good cause.

           Furnish opposing parties a list of damages if damages are claimed.

           Failure to fully comply with this section will likely result in the exclusion of these
           items from use at trial in that party’s case-in-chief.

        h. Depositions for Evidence: Depositions for evidence (proof) shall be completed thirty
           (30) days prior to the final pretrial conference unless all parties agree otherwise, which
           agreement shall be memorialized in writing (and not be filed with the Court), or unless
           leave of Court is granted.

        i. Extensions of time. The parties may agree to extend the deadline for any disclosure
           required by Rule 26 or this scheduling order, but such agreement must be in writing to
           be effective. However, the deadlines for filing motions shall remain applicable, and
           will be extended only with court permission.

  6.    Final Pretrial Conference and Pretrial Orders

        a. Final Pretrial Conference: A final pretrial conference will be held on June 25, 2024,
           at 1:30 p.m. EST at the James H. Quillen Courthouse, Courtroom 420.

        b. Final Pretrial Order: Unless counsel are otherwise directed, the following governs
           with regard to the pretrial order. A proposed final pretrial order shall be filed five (5)
           days before the final pretrial conference. The order shall contain the following recitals:



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          (1) Jurisdiction

          (2) Admissions and Stipulations. The parties shall set out in numbered paragraphs each
              fact that is not in dispute. The parties are reminded that the Court, in an effort to
              reduce the need for evidence at and length of trial, expects the parties to approach
              this task in a good faith effort to agree on all relevant facts for which there is no
              reasonable basis for disagreement. In a jury trial, the section will be read to the
              jury and the jury will be instructed to accept these facts as true.

          (3) General Nature of the Claims of the Parties:

             i. Summary of plaintiff’s theory. For each defendant, each plaintiff shall concisely
             state each legal theory relied upon and the factual allegations the plaintiff expects
             to prove in support of each. Vague, conclusory, and general claims and allegations
             are unacceptable. A plaintiff is expected to know the claims and be able to state
             precisely and succinctly the issues to be tried. Each claim must be set out in a
             separately numbered and labeled paragraph.

             ii. Summary of each defendant’s theory. For each claim against a defendant, each
             defendant shall concisely state each legal theory relied upon and the factual
             allegations the defendant expects to prove in support of each. Vague, conclusory,
             and general claims and allegations are unacceptable. A defendant is expected to
             know the defenses and be able must state precisely and succinctly the issues to be
             tried. Each defense must be set out in a separately numbered and labeled paragraph.

          (4) Contested Issues of Law

          (5) Damages. If damages cannot be stipulated, each party must show the method by
              which damages should be calculated if awarded.

          (6) Other Trial Information and Other Matters.

             i. That the pleadings are amended to conform to the pretrial order.

             ii. Estimated length of trial (in working days).

             iii. Possibility of settlement.

             Forty-five (45) days before the final pretrial conference (47 days if service by
             mail), plaintiff’s counsel shall serve opposing counsel with a proposed pretrial
             order containing the above items except for the theory of defendant. Within five (5)
             working days after receipt thereof, opposing counsel shall furnish plaintiff’s
             counsel with defendant’s theory and advise of any disagreement as to proposed
             pretrial order content. The parties shall make good faith efforts to reconcile all
             differences and without the Court’s intercession. If the parties cannot agree on a
             pretrial order, plaintiff’s counsel shall notify the undersigned’s office at least

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               twenty-one (21) days before the final pretrial conference that the parties have been
               unsuccessful, after a good faith effort, to agree upon a pretrial order. Thereafter, the
               undersigned may enter a pretrial order prior to or after the pretrial conference.
               Proposed amendments to a pretrial order entered ex parte by the magistrate judge
               may be sought by motion filed ten (10) days following entry of the order.
               Failure to file an agreed pretrial order or to notify the undersigned’s office
               that one cannot be agreed upon as required herein may be deemed a failure to
               prosecute the action and the action dismissed. See Fed.R.Civ.P. 41(b).

        c. Filings Required after Final Pretrial Conference: At least seven (7) days before
           trial, counsel will:

           (1) File a final witness list identifying only the witnesses that will definitely be used at
               trial. This list shall not identify any witness not appearing on the witness list
               referenced in Section 5(g);

           (2) File a list of damages preferably stipulated to by all parties. If stipulation cannot be
               reached, each party must file a list showing the method of determining damages;

           (3) File designations of depositions or portions thereof which will be read at trial;

           (4) File as an exhibit resumes of all expert witnesses;

           (5) Jointly submit pre-marked exhibits. The exhibits shall be sequentially numbered
               with Plaintiff’s exhibits first and Defendant’s exhibits thereafter. Plaintiff’s
               exhibits will be numbered one through the last exhibit Plaintiff expects to introduce
               and Defendant’s exhibit numbers will commence with the number immediately
               following Plaintiff’s last exhibit;

           (6) File briefs of all contested issues of law; and

           (7) For non-jury issues, file proposed findings of fact and conclusions of law with
               citations of authority supporting the latter.

        d. Jury Instructions and Verdict Form: At least ten (10) days before trial, the parties
           shall file requests for jury instructions and a proposed verdict form. The parties shall
           cite with each jury instruction request at least one supporting authority. The parties
           shall also submit the proposed instructions and proposed verdict form as a Word
           document via e-mail to chambers.

  7.    Trial: The trial will be in Greeneville, Tennessee before the undersigned and a jury
        beginning on July 9, 2024, at 9:00 a.m. EST. The expected length of trial is four (4)
        days.

  8.    Courtroom Technology Equipment: The evidence presentation system facilitates and
        expedites hearings and trials. Attorneys are encouraged to familiarize themselves with this

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        technology and to make full use of it. Counsel who intend to use the equipment should
        notify the courtroom deputy at least two days prior to a hearing or trial so the equipment is
        ready for use. The courtroom deputy, Ms. Kim Ottinger, will be available following the
        final pretrial conference to assist counsel with the use of the equipment. Counsel may also
        contact the courtroom deputy to schedule an alternate time to familiarize themselves with
        the equipment.

        The U.S. District Court for the Eastern District of Tennessee uses the Jury Evidence
        Recording system (JERS) to capture evidence electronically during a trial. Admitted
        evidence will be released to the jury during deliberations unless the Court specifically
        directs otherwise, and the evidence can be played back by the jury in the deliberation room.
        In order to best facilitate presentation of evidence at trial and use of the JERS, the parties
        are STRONGLY ENCOURAGED to provide their exhibits to the courtroom deputy no
        later than ONE WEEK before trial. The exhibits shall be the exhibits that were previously
        marked and numbered by the parties. The exhibits SHALL BE SUMBITTED IN
        ELECTRONIC FORMAT. It is preferred that the parties provide all electronic evidence
        files on USB drives, DVDs, or CDs.

        Information on JERS, specific requirements, and equipment supplied by the Court is
        available on the Eastern District of Tennessee website (www.tned.uscourts.gov). Specific
        questions about Court-supplied equipment should be directed to the courtroom deputy
        (directory available on website).

  9.    Conclusion: A failure to comply with the provisions of this order likely will result in the
        exclusion of witnesses, exhibits, depositions, or damages, as the case may be.

        SO ORDERED:



                                               s/ Clifton L. Corker
                                               United States District Judge




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